









Dismissed and Opinion filed March 27, 2003









Dismissed and Opinion filed March 27, 2003.

&nbsp;

In The

&nbsp;

Fourteenth Court of Appeals

____________

&nbsp;

NO.
14-03-00230-CR

____________

&nbsp;

THOMAS
MICHAEL PUENTE, Appellant

&nbsp;

V.

&nbsp;

THE STATE OF TEXAS, Appellee

&nbsp;



&nbsp;

On
Appeal from the 180th District Court

Harris
County, Texas

Trial
Court Cause No. 926,526

&nbsp;



&nbsp;

M
E M O R A N D U M&nbsp;&nbsp; O P I N I O N

Appellant entered a guilty plea on January 22, 2003, to the
offense of driving while intoxicated.&nbsp; In
accordance with the terms of a plea bargain agreement with the State, the trial
court sentenced appellant to six years= incarceration in the Texas
Department of Criminal Justice, Institutional Division.&nbsp; Appellant filed a pro se notice of
appeal.&nbsp; Because appellant has no right
to appeal, we dismiss.&nbsp; 








The trial court entered a certification of the defendant=s right to appeal in which the court
certified that this is a plea bargain case, and the defendant has no right of
appeal.&nbsp; See Tex. R. App. P. 25.2(a)(2).&nbsp; The trial court=s certification is included in the
record on appeal.&nbsp; See Tex. R. App. P. 25.2(d).

Accordingly, we dismiss the appeal.&nbsp; 

&nbsp;

&nbsp;

PER CURIAM

&nbsp;

Judgment rendered and Opinion
filed March 27, 2003.

Panel consists of Justices
Anderson, Seymore, and Guzman.

Do Not Publish C Tex. R. App. P. 47.2(b).

&nbsp;





